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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:18-cv-24492-RNS

  UNITED STATES OF AMERICA,

                                Plaintiff,

  v.

  DORON a/k/a DON KRAMER,
  HAROLD KRAMER, and JOHN DOE
  and JANE DOE, as potential heirs and/or
  personal representatives and/or distributees,
  of the ESTATE OF RICHARD KRAMER,

                                Defendants.       /

                 JOINT MOTION TO ENLARGE THE TIME IN WHICH
      THE DEFENDANT HAROLD KRAMER MUST ANSWER OR OTHERWISE RESPOND
                        TO THE PLAINTIFF’S COMPLAINT

         Pursuant to Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure and Local Rule 7.1, the

  plaintiff, United States of America, and the defendant, Harold Kramer (“Harold”), jointly move the

  Court to enlarge the time in which Harold must answer or otherwise respond to the plaintiff’s

  complaint for an additional thirty-two (32) days, up to and including Tuesday, April 30, 2019. On

  March 26, 2019, Harold advised the United States that he needed additional time to prepare a

  complete and proper response to the United States’ complaint. In response to Harold’s request and

  for the reasons described, below, the United States will not oppose an extension of time, up to and

  including April 30, 2019, for Harold to answer or otherwise plead to the plaintiff’s complaint.

   




                                                       
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          The parties state the following in support of their joint motion:

          1.      On October 26, 2018, the United States filed a complaint against, inter alia, Doron

  a/k/a Don Kramer (“Don”) and Harold, seeking to recover the unpaid civil penalties that were

  assessed against the decedent, Richard Kramer, for his willful failure to report his interest in certain

  foreign financial accounts timely, as required by 31 U.S.C. § 5314 and its implementing

  regulations (often referred to as “FBAR penalties”), plus interest, failure to pay penalties and other

  additional amounts, such as administrative costs, as provided by law, from the date of assessment

  until paid. See Doc. 1.

          2.      On November 23, 2018, the United States requested that Harold waive service of a

  summons in this action along with a copy of the complaint. See Doc. 5. Harold returned an

  executed waiver on December 26, 2018. See Doc. 6.

          3.      Having executed a waiver, Harold was required to answer or otherwise respond to

  the plaintiff’s complaint by Tuesday, January 22, 2019. See Doc. 6.

          4.      At the end of the day on December 21, 2018, the appropriations act that had

  been funding the Department of Justice expired and appropriations to the Department lapsed.

  Accordingly, on January 8, 2019, the United States moved the Court to stay this case, including the

  January 22, 2019 deadline by which Harold must respond to the plaintiff’s complaint, until such

  time as Congress restored appropriations for the funding of the Department of Justice. See Doc. 7.

          5.      On January 9, 2019, the Court granted the United States’ motion to stay and

  ordered, in pertinent part, that “[o]nce the stay is lifted, the Court will set forth any relevant

  deadlines by way of separate order.” See Doc. 8.




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         6.      On January 31, 2019, the United States moved the Court to lift the stay of this case

  and requested, inter alia, that the Court set March 29, 2019, as the deadline by which Harold must

  answer or otherwise plead to the United States’ complaint. See Doc. 9.

         7.      On February 5, 2019, the Court granted the United States’ motion to lift the stay in

  this case and ordered, in pertinent part, that “Defendant Harold Kramer shall file a response to the

  Complaint on or before March 29, 2019.” See Doc. 12.

         8.      On March 26, 2019, Harold advised the United States that he needs additional time

  to prepare a complete and proper response to the plaintiff’s complaint. Based on the parties’

  discussions, they agreed to request the Court to enlarge the time in which Harold must answer or

  otherwise respond to the United States’ complaint for an additional thirty-two (32) days, up to and

  including Tuesday, April 30, 2019.

         9.      The parties do not believe that this extension request should unduly delay these

  proceedings because the United States is filing an application for entry of default against the

  defendant, Doron a/k/a Don Kramer, contemporaneously with the filing of this motion, and it

  anticipates that it will request the Court to enter a default judgment against Don in the near future.

  Don was personally served with the summons and complaint on February 9, 2019. See Doc. 13.

  As a result, he was required to answer or otherwise plead to the United States’ complaint by

  Monday, March 4, 2019, but he did not do so.

         10.     In the interest of judicial economy, the United States and Harold would prefer, if

  possible, for the Court to resolve the matter regarding entry of a default judgment against Don

  before the parties meet and confer regarding discovery and scheduling issues, as set forth in Fed. R.

  Civ. P. 26(f) and Local Rule 16.1(b). See Doc. 3, at ¶ 2.

   
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         For the above reasons, the plaintiff, United States of America, and the defendant, Harold

  Kramer, respectfully request that the Court order that Harold Kramer must answer or otherwise

  respond to the plaintiff’s complaint by April 30, 2019. A proposed order is attached hereto and

  will be e-mailed to the Judge’s Chamber.

         Respectfully submitted this 29th day of March, 2019.


  RICHARD E. ZUCKERMAN
  Principal Deputy Assistant Attorney General

  /s/ Lynne M. Murphy                                        /s/ Harold Kramer    (by consent)
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  OF COUNSEL:

  ARIANA FAJARDO ORSHAN
  United States Attorney




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                                   CERTIFICATE OF SERVICE

          IT IS HEREBY CERTIFIED that service of the foregoing Joint Motion To Enlarge the
  Time In Which the Defendant Harold Kramer Must Answer or Otherwise Respond to the
  Plaintiff’s Complaint, including Proposed Order, has this 29th day of March, 2019, been made by
  depositing a copy thereof in the United States mail, first class postage prepaid, to the following
  person at the following address:

                                       Harold Kramer
                                       P.O. Box 3849
                                       Placida, Florida 33946


                                                        /s/ Lynne M. Murphy____________
                                                        Trial Attorney, Tax Division
                                                        U.S. Department of Justice
                                                        P.O. Box 14198
                                                        Ben Franklin Station
                                                        Washington, D.C. 20044




                                                     
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